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JAMES BONINT
IN THE CLERK
UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO a
WESTERN DIVISION AT cincrnnaTt Q9SEP27 AMU:58

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NORMAN McCRARY, Case No:

1:91-CR¥132-3 -)
Petitioner, e.

Civil No: 1-95-401
Judge: |. S. Beckwith

-V- MOTION TO REOPEN THE JUDGEMENT

PURSUANT TO FED.R.CIV.P. 60(b)

UNITED STATES OF AMERICA,
Respondent.

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NOTICE OF APPEAL OF JUDGEMENT ENTERED ON AUGUST 19, 2005/AND
MOTION TO PROCEED WITHOUT COST ON APPEAL

Now Comes the petitioner, Norman McCrary, pro-se, to move
this Honorable Court to set his timely notice of appeal of the
judgement entered on August 19, 2005. The Petitioner also request
that he be permitted to proceed without cost on this appeal, and
this is based on the fact the Petitioner is unable to pay court
cost -- and the fact his claim does raise a colorable issue of
law. See -- Abdur! Rahman vs. Bell, 392 F.3d 174 (6th Cir.
2004); Alley vs. Bell, 392 F.3d 822 (6th Cir. 2004); and Alley
vs. Bell, 405 F.3d 371 (6th Cir. 2005).

Therefore, based on the facts of this case and the judgement
entered on August 19, 2005, it is respectfully requested the relief
sought.

Respectfully Submitted,

Narpen BS Crary
Norman McCrary f

 

 
 

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CERTIFICATE OF SERVICE

I certify that a copy of this motion was sent to William
E. Hunt, Asst. U.S. Attorney at 221 East 4th Street, Suite 400,
Cincinnati, Ohio. 45202, by U.S. Mail, postage prepaid, on this

zy day of _ Sexe. ,2005,

Did pron TUS Ctevery

 

Norman McCrary 02070-061
U.S.P. Big Sandy
P.O. Box 2068

wor Inez, KY. 41224

 

 
